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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION


  UNITED STATES OF AMERICA,                                                            Plaintiff,

  v.                                                      Criminal Action No. 3:21-cr-155-DJH

  JOSHUA WHITE,                                                                      Defendant.

                                           * * * * *

                                            ORDER

        Defendant Joshua White filed a motion for bond pending appeal on March 17, 2025.

 (Docket No. 317) Accordingly, and the Court being otherwise sufficiently advised, it is hereby

        ORDERED that the United States shall respond to the motion (id.) by the close of

 business on March 19, 2025.

         March 18, 2025




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